Case 1:21-cr-00053-CJN Document 115-1 Filed 08/03/23 Page 1 of 6




                     EXHIBIT A
Case
 Case1:21-cr-00053-CJN
      1:21-cr-00091-RCL Document
                         Document115-1
                                  8-1 Filed
                                       Filed02/12/21
                                             08/03/23 Page
                                                       Page12ofof26
Case
 Case1:21-cr-00053-CJN
      1:21-cr-00091-RCL Document
                         Document115-1
                                  8-1 Filed
                                       Filed02/12/21
                                             08/03/23 Page
                                                       Page23ofof26
Case
 Case1:21-cr-00053-CJN
       1:21-cr-00091-RCLDocument
                          Document
                                 115-1
                                   8 Filed
                                        Filed
                                            02/12/21
                                              08/03/23Page
                                                        Page
                                                           1 of
                                                             4 of
                                                                3 6
Case
 Case1:21-cr-00053-CJN
       1:21-cr-00091-RCLDocument
                          Document
                                 115-1
                                   8 Filed
                                        Filed
                                            02/12/21
                                              08/03/23Page
                                                        Page
                                                           2 of
                                                             5 of
                                                                3 6
Case
 Case1:21-cr-00053-CJN
       1:21-cr-00091-RCLDocument
                          Document
                                 115-1
                                   8 Filed
                                        Filed
                                            02/12/21
                                              08/03/23Page
                                                        Page
                                                           3 of
                                                             6 of
                                                                3 6
